Case 6:19-cv-01296-PGB-EJK Document 12 Filed 12/26/19 Page 1 of 13 PageID 94



                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION


JOSEPH LYNN HALLIDAY,

           Petitioner,

v.                                      CASE NO. 6:19-cv-1296-Orl-40EJK

SECRETARY, FLORIDA DEPARTMENT
OF CORRECTIONS, et. al.,

          Respondents.
______________________________/

                          RESPONSE TO PETITION

     COME NOW the Respondents, by and through the undersigned

Assistant Attorney General, pursuant to this Court's order (Doc No.

7) and file this response to the petition, stating as follows:

                      JUDICIAL CONFLICT STATEMENT

     No U.S. District Judge or Magistrate was involved in any of

Petitioner’s state court proceedings.

                   PROCEDURAL AND FACTUAL STATEMENT

     Petitioner ("Halliday")       was charged with and convicted of

sexual battery upon a person younger than 12 years of age, lewd or

lascivious    molestation    of   a   person    younger    than   12,   and

distributing obscene material to a minor.       (B 87-88,    702-703)   The

facts adduced at trial included the testimony of the seven year old

(at the time of the trial) victim (B 124) who stated that her

father, the Appellant, had her “suck his pee pee” while he played

a video on his computer depicting a girl “sticking her tongue” on

a man.   (B 127, 130-131)     She was four years old at the time.        (B
Case 6:19-cv-01296-PGB-EJK Document 12 Filed 12/26/19 Page 2 of 13 PageID 95



139)    She testified that “[w]hite stuff” came out of his pee pee

and would end up on the floor.       (B 131-132)

       The victim’s mother testified that one evening, while she and

the victim were watching a particular scene of Sponge Bob on

television, the victim stated that her father had seen her naked.

She further explained that the child then said that Appellant had

seen her naked “when he made me lick his pee pee until white stuff

came out.”   (B 185)   The mother did not press the issue any further

but after discussing the matter throughout the evening with her

boyfriend she called DCF in the early morning hours.           (B 187-188)

The video of the CPT interview was published to the jury.          (B 266-

335)

       A motion for judgment of acquittal was made arguing that the

victim did not identify Appellant in the courtroom and that the

victim denied that her father touched her pee pee.           (B 483)    The

defense acknowledged that the victim’s testimony at trial was

contradicted by the CPT interview where the victim stated that

Appellant licked her pee pee. (Id.)       The State argued that even if

the child denied that she was “touched” by Appellant, it did not

exclude the evidence given at the CPT interview that she was

“licked” by him – and that would still support of finding of lewd

or lascivious molestation.       (B 488-489)    The trial court further

found that the child’s drawings during the CPT interview, along

with the other evidence, clearly created a jury question regarding


                                     2
Case 6:19-cv-01296-PGB-EJK Document 12 Filed 12/26/19 Page 3 of 13 PageID 96



whether the incident occurred. (B 484-485, 489-490) Appellant was

convicted   as   charged   and   an    appeal   was   filed,   raising   three

grounds:    (1) the denial of the motion for judgment of acquittal,

(2) that it was error to admit the child hearsay evidence, and (3)

ineffectiveness of counsel for failing to request redaction of the

child hearsay as to Count 2.          (Exhibit C)

     The State responded (Exhibit D), a Reply brief was filed, and

the appellate court issued an opinion reversing the conviction for

Count 2, lewd and lascivious conduct, but affirming the remaining

convictions.     (Exhibits E, F)        Halliday then ultimately filed a

Second Amended Florida Rule of Criminal Procedure 3.850 motion for

postconviction relief raising two grounds of ineffectiveness of

counsel:    (1) failure to exclude child hearsay statements and (2)

failure to produce evidence that “coaching” of the child witness

had occurred.    (G 80)    The trial court summarily denied the motion

finding as to Ground 1 that the issue was successfully raised on

direct appeal and in Ground 2 that the purported evidence would be

inadmissible and irrelevant. (G 91)         On appeal, the summary denial

was affirmed without a response by the State.            (Exhibits H, I)

     Halliday has now filed the pending federal habeas petition,

raising two grounds of ineffectiveness of counsel:

(1) failure to move for a new child hearsay evidentiary hearing,
and

(2) that the trial court erred in failing to develop and present
evidence of the mother’s “coaching” of the child victim.


                                        3
Case 6:19-cv-01296-PGB-EJK Document 12 Filed 12/26/19 Page 4 of 13 PageID 97



                         ONE-YEAR TIME LIMITATION

     Halliday has timely filed his federal habeas petition within

the grace period provided in the AEDPA.

                         EXHAUSTION/PROCEDURAL BAR

     Halliday’s second ground was presented and ruled upon in the

trial court.    The basis for Ground 1 was raised on direct appeal –

however, the ineffectiveness of counsel claim relating to that

claim, raised in the 3.850 motion, was found procedurally barred.

(G 93)   The bar stemmed from the fact that the underlying issue for

which ineffectiveness was claimed had been raised on direct appeal.

Pursuant to Florida law as cited by the trial court, the same issue

cannot be relitigated under the “guise” of ineffectiveness.            (Id.)

Moreover, Halliday was successful on the direct appeal and the

conviction for Count 2 was vacated.

     This Court may not review claims that were not properly raised

in state courts.     A petition for writ of habeas corpus should not

be entertained unless the petitioner has first exhausted his state

remedies.    Rose v. Lundy, 455 U.S. 509 (1982).           Federal courts

cannot   hear   habeas    petitions   containing    both   exhausted    and

unexhausted claims.       Rose at 510; Ali v. Florida, 777 F.2d 1489

(11th Cir. 1985) (entire pro se petition dismissed when two claims

not exhausted and State asserts failure to exhaust).              A habeas

petitioner may not present instances of ineffective assistance of

counsel in his federal petition that the state court has not


                                      4
Case 6:19-cv-01296-PGB-EJK Document 12 Filed 12/26/19 Page 5 of 13 PageID 98



evaluated previously.      Footman v. Singletary, 978 F.2d 1207, 1211

(11th    Cir.   1992).    The    State       does   not   waive   the    exhaustion

requirement.       Additionally, Federal Courts must dismiss those

claims that are not exhausted but would clearly be barred if

returned to state court.        Harris v. Reed, 489 U.S. 255 (1989).             Any

further filing in State court would be successive.                     Halliday has

not shown cause for the procedural default in State Court.

                           EVIDENTIARY HEARING

       Halliday was not awarded an evidentiary hearing on the claims

presented in this petition.         The complete record in this case is

more    than    sufficiently    clear    for    this      Court   to   resolve   the

remaining claims on the basis of said record without further

evidentiary development.        Diaz v. U.S., 930 F.2d at 834 (S.D. Fla

1991).

                         ARGUMENT ON THE MERITS

       Without abandoning the above procedural default argument, the

State will discuss the merits of the petition:

       Ground 1 -- that the trial court erred in admitting child

hearsay evidence -- is purely a matter of state law.                     The child

hearsay exception is found in §90.803(23), Florida Statutes.                      In

this case, the trial court made the requisite findings on the

record pursuant to the child hearsay provision.                   After a lengthy

hearing, the trial court found that the child’s testimony was

reliable, it was confirmed by the CPT interview, and the child


                                         5
Case 6:19-cv-01296-PGB-EJK Document 12 Filed 12/26/19 Page 6 of 13 PageID 99



“consistently said she knew the difference between ... [a] truth

and a lie...”     (A 160-164)       The child was available to testify

during trial and she in fact did testify, subjecting herself to

cross-examination.     In   fact,   the    detail    of    the     CPT interview

regarding the lewd or lascivious count appears much more reliable

than the child’s testimony at trial.         (A 81-86)       The jury clearly

found the CPT interview credible.

     Nevertheless, Florida law provides that questions regarding

the reliability of statements are solely within the discretion of

the trial court.         A reviewing court can neither reweigh the

evidence nor disturb such a finding on appeal absent a clear

showing of abuse.      Perry v. State, 593 So.2d 620 (Fla. 2d DCA

1992).

     Moreover, federal courts generally do not review a state trial

court's admission of evidence.        McCoy v. Newsome, 953 F.2d 1252,

1265 (11th Cir.), cert. denied, 112 S.Ct. 2283 (1992).                    It is

beyond the    province    of   Federal    courts    to    review    whether   the

admission of evidence in a state criminal trial conformed with

state law requirements. Futch v. Dugger, 874 F.2d 1483, 1487 (11th

Cir. 1989);      Estelle v. McGuire, 502 U.S. 62, 68-69 (1991).

Federal habeas corpus relief based on evidentiary rulings will not

be granted unless it goes to the fundamental fairness of the trial.

Id. Because Halliday received a full and fair hearing and trial on

this point and because the appellate court followed state law in


                                      6
Case 6:19-cv-01296-PGB-EJK Document 12 Filed 12/26/19 Page 7 of 13 PageID 100



deciding that the statements were admissible, (even though one

count was later reversed) there is no basis for federal habeas

relief.   The fact remains that most sexual battery and abuse cases

contain some form of child hearsay evidence. Accordingly, Halliday

was not denied a fair trial where the child hearsay evidence was

properly admitted pursuant to state law.             And there can be no

prejudice where the conviction on the lewd or lascivious charge

that was the subject of the recantation was vacated.                 The CPT

interview was relevant to the other charges and admissible.

      Lastly, it is important to note that the admission of the CPT

interview was part of the strategy of the defense; counsel “backed

off” in impeaching the victim because he anticipated the admission

of conflicting statements as to both Counts 1 and 2 in the CPT

interview, and as a result was able to characterize the entire

video as having an “agenda.”        (B 150, 624-627)

      Ground   2   –   that   counsel   was   ineffective   for   failing   to

discover and present evidence of the mother’s “coaching” of the

child victim – was denied by the trial court as refuted by the

record.    (G 93)      The trial court attached portions of the trial

transcript which showed that defense counsel proffered testimony

from the mother concerning ongoing custody issues.                (G 163-181)

However, there has never been any testimony or proof that the

mother “coached” the child as to what to say during the CPT

interview.     This claim is unsupported by any evidence.


                                        7
Case 6:19-cv-01296-PGB-EJK Document 12 Filed 12/26/19 Page 8 of 13 PageID 101



      The trial court found that any other allegations, such as the

claim that the mother slandered Halliday and falsely accused him of

abuse   and   lied   about   her   sexual   history,   pregnancy    status,

paternity of another child and committed identity theft, were

irrelevant and therefore inadmissible.         (G 87, 93-94)

      As noted in the previous ground, it is a general rule that a

state trial court’s determination that evidence would be irrelevant

or inadmissible is not subject to review in this Court.         This State

finding was raised on appeal and the ruling was affirmed.               See

Gutierrez v. State, 860 So.2d 1043, 1045 (Fla. 5 DCA 2003) (holding

that counsel's failure to investigate did not constitute deficient

performance that prejudiced defendant, as required to support claim

of ineffective assistance of counsel, in that evidence would have

been inadmissible to negate intent.)           See also Jones v. Sec'y,

Dept. of Corr., 2009 WL 536525, at 5 (M.D. Fla. Mar. 3, 2009)(the

failure to investigate or present irrelevant evidence is not

deficient performance).

      The outcome of this claim is controlled by the United States

Supreme Court decision of Williams v. Taylor, 529 U.S. 362, 120

S.Ct. 1495, 146 L.Ed.2d 389 (2000) which clarified the nature of

review under 28 U.S.C. 2254(d).        Habeas relief from a state court

judgment may not be granted with respect to a claim adjudicated on

the merits in state court unless the adjudication of the claim:

           (1) resulted in a decision that was contrary to, or
      involved an unreasonable application of, clearly

                                     8
Case 6:19-cv-01296-PGB-EJK Document 12 Filed 12/26/19 Page 9 of 13 PageID 102



      established Federal law, as determined by the Supreme
      Court of the United States; or
           (2) resulted in a decision that was based on an
      unreasonable determination of the facts in light of the
      evidence presented in the State court proceeding.

See 28 U.S.C. § 2254(d).

      In Williams, the United States Supreme Court rejected the

"reasonable jurist" standard adopted by the Eleventh Circuit in

Neelley v. Nagle, 138 F.3d 917 (11th Cir. 1998).                      Instead the

Williams Court determined that a "federal habeas court may not

issue   the   writ   simply   because      that       court    concludes     in   its

independent judgment that the relevant state-court decision applied

clearly established federal law erroneously or incorrectly."                      Id.

at 411, 120 S.Ct at 1522.         The state court's application must also

be unreasonable.       Id.

      Therefore, §2254(d) requires the Court to make two types of

judgments in the process of adjudicating legal issues; (1) the

Court must    decide     whether   there   is     a    qualifying     state    court

decision; and (2) if so, the application should not be granted with

respect to the claim unless the state court decision was (a)

contrary to, or involved an objectively unreasonable application

of, a clearly established United States Supreme Court decision or

(b) based on an unreasonable determination of the facts. See McLee

v.   Angelone,   967    F.Supp.    152,    156    (E.D.       Va.   1997),    appeal

dismissed, 139 F.3d 891 (4th Cir. 1998).




                                       9
Case 6:19-cv-01296-PGB-EJK Document 12 Filed 12/26/19 Page 10 of 13 PageID 103



      There is no showing that the decisions herein were contrary to

 a United States Supreme Court opinion or that they involved an

 unreasonable application of Supreme Court precedent.               Moreover,

 there was no unreasonable determination of the facts.

                                    APPENDIX

      The appendix is currently being collated and copied; it will

 be filed within 30 days.

      WHEREFORE,     based   upon     the   arguments   presented    herein,

 Respondents respectfully request this Honorable Court deny all

 relief.

                                                Respectfully submitted,

                                                ASHLEY MOODY
                                                ATTORNEY GENERAL

                                                s/ Carmen F. Corrente
                                                CARMEN F. CORRENTE
                                                ASSISTANT ATTORNEY GENERAL
                                                Fla. Bar #304565
                                                444 Seabreeze Boulevard
                                                Fifth Floor
                                                Daytona Beach, FL     32118
                                                TEL: (386) 238-4990
                                                FAX: (386) 238-4997

                                                COUNSEL FOR RESPONDENTS
 E-Mail:

 CrimAppDAB@myfloridalegal.com
 Carmen.Corrente@myfloridalegal.com




                                       10
Case 6:19-cv-01296-PGB-EJK Document 12 Filed 12/26/19 Page 11 of 13 PageID 104




                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the above and

 foregoing response to petition and index to appendix in case number

 6:19-cv-1296-Orl-40EJK has been electronically filed and served

 this date by using the CM/ECF system on Robert David Malove,

 counsel for Petitioner, 200 South Andrews Avenue, Suite 901, Ft.

 Lauderdale, FL    33301 this 26th day of December, 2019

                                               s/ Carmen F. Corrente
                                               CARMEN F. CORRENTE
                                               ASSISTANT ATTORNEY GENERAL
Case 6:19-cv-01296-PGB-EJK Document 12 Filed 12/26/19 Page 12 of 13 PageID 105



                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

 JOSEPH LYNN HALLIDAY,

                Petitioner,
 v.                                      CASE NO. 6:19-cv-1296-Orl-40EJK

 SECRETARY, DEPARTMENT
 OF CORRECTIONS, et al.,

            Respondents.

                                 /




                                  APPENDIX




                                              ASHLEY MOODY
                                              ATTORNEY GENERAL

                                              CARMEN F. CORRENTE
                                              ASSISTANT ATTORNEY GENERAL
                                              Fla. Bar #304565
                                              444 Seabreeze Boulevard
                                              Fifth Floor
                                              Daytona Beach, FL   32118
                                              FAX: (386) 238-4997
                                              TEL: (386) 238-4990

                                              COUNSEL FOR RESPONDENTS
Case 6:19-cv-01296-PGB-EJK Document 12 Filed 12/26/19 Page 13 of 13 PageID 106



                             INDEX TO APPENDIX

 DOCUMENT                                                           EXHIBIT

 RECORD ON DIRECT APPEAL . . . . . . . . . . . . . . . . . . . . A

 TRANSCRIPT OF TRIAL . . . . . . . . . . . . . . . . . . . . . . B

 INITIAL BRIEF ON DIRECT APPEAL. . . . . . . . . . . . . . . . . C

 ANSWER BRIEF. . . . . . . . . . . . . . . . . . . . . . . . . . D

 REPLY BRIEF . . . . . . . . . . . . . . . . . . . . . . . . . . E

 5TH DCA OPINION AND MANDATE     . . . . . . . . . . . . . . . . . . F

 RECORD ON 3.850 APPEAL. . . . . . . . . . . . . . . . . . . . . G

 INITIAL BRIEF ON 3.850 APPEAL . . . . . . . . . . . . . . . . . H

 5TH DCA PCA AND MANDATE     . . . . . . . . . . . . . . . . . . . . I
